        Case 1:25-cv-00804-BAH            Document 9        Filed 03/19/25       Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES INSTITUTE FOR PEACE,
et al.,

               Plaintiffs,

       v.
                                                           Civil Action No. 25-0804 (BAH)
KENNETH JACKSON, in his official capacity
as Assistant to the Administrator for
Management and Resources for USAID, et al.,

               Defendants.


       RESPONSE TO MOTION FOR TEMPORARY RESTRAINING ORDER

       Defendants respectfully submit this response to the Plaintiffs’ motion for a temporary

restraining order. The Government received Plaintiffs’ papers at 9:36 p.m. last evening, and

thus, has not had adequate time to prepare a fulsome written response.                 That said, the

Government believes it has acted in accordance with all laws and that Plaintiffs’ request for a

temporary restraining order is unsupportable.

       First, there exists significant justiciability concerns with Plaintiffs’ suit. Plaintiffs consist

of the U.S. Institute for Peace (the “Institute”) and five former directors of the Institute, who

purport to sue in their official capacities alone. But the Institute is an independent establishment

of the Executive Branch, 22 U.S.C. § 4603(b), whose permanent directors are appointed by the

President with advice and consent of Senate, 22 U.S.C. § 4605(b)(4), and whose employees may

include those specifically appointed by the President, 22 U.S.C. § 4606(d)(1). Accordingly, this

dispute, as framed by Plaintiffs, is between an Executive Branch establishment and its former

officials in their official capacities and other Executive Branch officers and employees. Absent

rare circumstances, the Judicial Branch’s authority typically does not extend to resolve such
        Case 1:25-cv-00804-BAH           Document 9       Filed 03/19/25      Page 2 of 8




intra-Article II disputes. See, e.g., U.S. Postal Serv. v. Postal Regul. Comm’n, 963 F.3d 137, 143

(D.C. Cir. 2020) (Rao, J., concurring) (“because agencies involved in intra-Executive Branch

disputes are not adverse to one another (rather, they are both subordinate parts of a single

organization headed by one CEO), such disputes do not appear to constitute a case or

controversy for purposes of Article III” (quoting SEC v. Fed. Lab. Rels. Auth., 568 F.3d 990, 997

(D.C. Cir. 2009) (Kavanaugh, J., concurring)).

       Second, the statute that Plaintiffs cite suggesting that Institute directors were improperly

removed, 22 U.S.C. § 4605(f), does not purport to restrict the President’s Article II powers to

remove Executive Branch officers and employees performing executive actions. Instead, it

provides a removal procedure in addition to the President’s constitutional power to remove the

directors at will. Indeed, when President Reagan signed the Defense Authorization Act of 1985,

which created the Institute, he included a signing statement noting: “The act establishes the

United States Institute of Peace. I have been advised by the Attorney General that section

1706(f), relating to the President's power to remove members of the Board of Directors of the

Institute, is neither intended to, nor has the effect of, restricting the President’s constitutional

power to remove those officers.”          Statement on Signing the Department of Defense

Authorization Act, 1985 (Oct. 19, 1984), available at: https://www.reaganlibrary.gov/

archives/speech/statement-signing-department-defense-authorization-act-1985. While Congress

may limit the grounds upon which the President may remove officers of the United States who

perform quasi-judicial or quasi-legislative functions, Humphrey’s Executor v. United States,

295 U.S. 602 (1935), it may not do so with respect to executive officers who do not perform such

functions, Myers v. United States, 272 U.S. 52 (1926).




                                                 -2-
         Case 1:25-cv-00804-BAH            Document 9       Filed 03/19/25      Page 3 of 8




         Third, the Institute is an improper Plaintiff in this suit. As Plaintiffs themselves note, the

remaining directors of the Institute appointed Mr. Kenneth Jackson as the Institute’s president.

See Board Resolution (ECF No. 1-7). Mr. Jackson has not authorized the Institute to file this

suit, and the former acting president, Mr. George E. Moose, no longer has any authority to do so.

See generally 22 U.S.C. § 4606. Whether Moose’s removal was proper, or not, is not at issue in

this suit as Moose is not a party, and no plaintiff purports to assert claims based on supposed

injuries to him.

         Fourth, the plaintiff directors in their official capacities have suffered no irreparable

harm. The D.C. Circuit recently confirmed as much in Dellinger v. Bessent, No. 25-5052 (D.C.

Cir. Mar. 10, 2025) (granting Government request for a stay pending appeal), slip op. at 8. In

Dellinger, the former Director of the Office of Special Counsel challenges the President’s

removal of him. The D.C. Circuit held that plaintiff had not demonstrated irreparable harm

based on his statutory rights to function as the Director, even “[a]ssuming he is correct that his

removal is statutorily ultra vires, and assuming that his removal constitutes a cognizable injury.”

Id. at 8. The Court elaborated that at worst, the harm to plaintiff would be that he “would remain

out of office for a short period of time.” Id. In contrast, “potential injury to the government of

both having its designated Acting Special Counsel sidelined and unable to act while also having

to try and unravel [plaintiff’s] actions is substantial.” Id. The Plaintiff directors here are plainly

in same situation as the director in Dellinger (as would any claim by Moose were he a party).

Accordingly, they cannot demonstrate irreparable harm necessary for a temporary restraining

order.

         Lastly, while Plaintiffs reference a request for an administrative stay in their papers, TRO

Mem. (ECF No. 2-1) at 3, they recognize they must demonstrate a likelihood of success on the




                                                 -3-
        Case 1:25-cv-00804-BAH           Document 9       Filed 03/19/25      Page 4 of 8




merits and irreparable harm in the absence of an injunction to obtain such a stay. See id. This is

for a good reason. The Court lacks jurisdiction and has no authority as a district court to enter

proscriptive or mandatory administrative stays effectively operating as injunctions, especially

against a co-equal branch of the federal government, without establishing these elements.

       The Federal Rules of Civil Procedure (“Rules”) provide for only two forms of provisional

injunctive relief: (1) preliminary injunctions, which operate to enjoin parties during the pendency

of an action, and (2) temporary restraining orders, which operate to enjoin parties until the Court

has the opportunity to consider a request for a preliminary injunction and which may be sought

on an ex parte basis. See Fed. R. Civ. P. 65(a), (b); Wright & Miller, 11A Fed. Prac. & Proc.

Civ. § 2941 (3d ed. June 2024 update) (“A temporary-restraining order typically is sought and

issued on an ex parte basis and operates to prevent immediate irreparable injury until a hearing

can be held to determine the need for a preliminary injunction. A preliminary injunction is

effective until a decision has been reached at a trial on the merits.”). Before either a preliminary

injunction or a temporary restraining order may issue, a movant must establish a likelihood of

success on the merits and irreparable harm (among other showings). Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20, 22 (2008).

       While a temporary restraining order cannot be immediately appealed, the issuance of a

preliminary injunction can. This is because a temporary restraining order can only last for a

short period of time and comes with “general principles imposing strict limitations on the scope

of temporary restraining orders.” Sampson v. Murray, 415 U.S. 61, 86–88 (1974). And courts

cannot characterize provisional relief exceeding those strict limitations as a temporary restraining

orders. As the Supreme Court has noted: “A district court, if it were able to shield its orders

from appellate review merely by designating them as temporary restraining orders, rather than as




                                               -4-
         Case 1:25-cv-00804-BAH                Document 9   Filed 03/19/25       Page 5 of 8




preliminary injunctions, would have virtually unlimited authority over the parties in an injunctive

proceeding.” Sampson, 415 U.S. at 86–87; see also In re Dist. No. 1 – Pac. Coast Dist., Marine

Eng’rs’ Beneficial Ass’n, 723 F.2d 70, 74 (D.C. Cir. 1983) (deeming characterization of

provisional relief as temporary restraining order “to be patently erroneous”).

        There is no third tool available to district courts—e.g., an “administrative stay”—subject

to some unidentified standard short of the requirements set forth in Winter and providing

unknown appellate rights that permits a district court to enjoin a party (and, in particular, the

Executive) before it can consider a request for a temporary restraining order (which itself is an

urgent, emergency request for provisional relief until a preliminary injunction can be

considered). Indeed, as its name indicates, an “administrative stay” is solely used by appellate

courts to halt (or “stay”) the effectiveness of judicial commands, not place binding obligations on

the parties to a suit in the first instance.

        The sources often cited by district courts for administrative stays provide no authority for

a district court to issue provisional injunctive relief without a finding of both a likelihood of

success on the merits and irreparable harm. For example, Justice Barrett in United States v.

Texas, 144 S. Ct. 797, 798 (2024) (Barrett, J., concurring), discussed administrative stays

available to appellate courts, which are used by them to halt (or “stay”) the effectiveness of an

order or judgment until an appellate court can consider the merits of a stay pending appeal. Id.

at 799 (“When entered, an administrative stay is supposed to be a short-lived prelude to the main

event: a ruling on the motion for a stay pending appeal.”). Nothing in that concurrence suggests

that a trial court can use that appellate apparatus to enjoin the Executive Branch or others without

a requisite showing of a likelihood of success on the merits and irreparable harm.




                                                   -5-
        Case 1:25-cv-00804-BAH           Document 9        Filed 03/19/25      Page 6 of 8




       As to the All Writs Act, courts of appeals have rejected its use to create remedies when

sources of law already provide parallel ones. Fla. Med. Ass’n, Inc. v. Dep’t of Health, Ed. &

Welfare, 601 F.2d 199, 202 (5th Cir. 1979) (“While the All Writs Act empowers a district court

to fashion extraordinary remedies when the need arises, it does not authorize a district court to

promulgate an Ad hoc procedural code whenever compliance with the Rules proves

inconvenient.”). Others have held that Rule 65 governs the issuance of temporary restraining

orders and preliminary injunction orders, and thus is controlling even under the All Writs

Act. Ben David v. Travisono, 495 F.2d 562, 563 (1st Cir. 1974) (“[w]hether proceeding under

the [All Writs Act] or not, a district court has no license to ignore [Rule 65]”); Schiavo ex rel.

Schindler v. Schiavo, 403 F.3d 1223, 1229 (11th Cir. 2005) (“[W]here the relief sought is in

essence a preliminary injunction, the All Writs Act is not available because other, adequate

remedies at law exist, namely [Rule] 65, which provides for temporary restraining orders and

preliminary injunctions.”). At bottom, however viewed, the All Writs Act provides no authority

to dispense with the requirements of Winter to obtain provisional injunctive relief.

       The same goes for other commonly cited authorities—they all concern the availability of

administrative stays to appellate courts to halt (or “stay”) the operation of a district court order.

None suggests the mechanism exists at the trial court level to enjoin parties in the first instance.

See, e.g., Rachel Bayefsky, Administrative Stays: Power and Procedure, 97 Notre Dame L. Rev.

1941, 1941 (2022) (“This Article explores a little examined device that federal courts employ to

freeze legal proceedings until they are able to rule on a party’s request for a stay pending appeal:

the ‘administrative’ or ‘temporary’ stay.” (emphasis added)).

       Lastly, the D.C. Circuit’s holding in Human Rights Defense Center v. U.S. Park Police, -

-- F.4th ---, 2025 WL 286516 (D.C. Cir. Jan. 24, 2025), further underscores the limits on district




                                                -6-
        Case 1:25-cv-00804-BAH          Document 9        Filed 03/19/25     Page 7 of 8




courts to fashion remedies under its inherent authority absent a statutory or rules-sanctioned

basis for doing so. A “court’s invocation of an inherent power must [ ] ‘either be documented by

historical practice’ or ‘supported by an irrefutable showing that the exercise of an undoubted

authority would otherwise be set to naught.’” Id. at *6 (quoting Cobell v. Norton, 334 F.3d

1128, 1141 (D.C. Cir. 2003)). That authority is cabined to enforce rules necessary to protect the

integrity of courts “and prevent abuses of the judicial process[.]” Human Rts., 2025 WL 286516,

at *6 (quoting Shepherd v. Am. Broad. Cos., 62 F.3d 1469, 1474 (D.C. Cir. 1995)). As such, that

authority is typically deployed “to admit members to the bar, discipline bar members, punish

contempt of court, vacate judgments based on fraud on the court, and punish bad-faith or

vexatious conduct.” Human Rts., 2025 WL 286516, at *6.

       Ultimately, district courts enjoy no inherent authority to enjoin the Executive (or other

parties) without finding that a litigant has demonstrated a likelihood of success on the merits and

irreparable harm, among the other factors set forth in Winter, and the Court here is without

jurisdiction to issue an administrative stay without making those determinations.



                                            *    *    *




                                                -7-
        Case 1:25-cv-00804-BAH         Document 9      Filed 03/19/25    Page 8 of 8




       The Government will be prepared at today’s hearing to address other issues and the

Court’s questions about this matter.

Dated: March 19, 2025                       Respectfully submitted,
       Washington, DC
                                            EDWARD R. MARTIN, JR., D.C. Bar #481866
                                            United States Attorney


                                            By:           /s/ Brian P. Hudak
                                                  BRIAN P. HUDAK
                                                  Chief, Civil Division
                                                  601 D Street, NW
                                                  Washington, DC 20530
                                                  (202) 252-2549

                                            Attorneys for the United States of America




                                           -8-
